
23 N.Y.2d 923 (1969)
Don J. Wickham, as Commissioner of Agriculture and Markets of the State of New York, Respondent,
v.
Jerry Levine, Appellant.
Court of Appeals of the State of New York.
Argued January 7, 1969.
Decided January 23, 1969.
Sidney Salant for appellant.
George W. Gloning, Jr., and Robert G. Blabey for respondent.
Concur: Chief Judge FULD and Judges BURKE, BERGAN, KEATING, BREITEL and JASEN. Judge SCILEPPI dissents and votes to reverse upon the ground that the operation conducted by defendant does not come within the purview of section 193 (subd. 4) of the Agriculture and Markets Law.
Order affirmed, with costs; no opinion.
